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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
                                 NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                 *           MDL NO. 1873
FORMALDEHYDE                        *
PRODUCT LIABILITY                   *           SECTION “N-5"
LITIGATION                          *
                                    *           JUDGE ENGELHARDT
                                    *
THIS DOCUMENT RELATES TO            *           MAG. JUDGE CHASEZ
EARLINE CASTANEL, ET AL             *
v. RECREATION BY DESIGN, LLC        *
ET AL, DOCKET NO. 09-3251           *
******************************************************************************

                                         ORDER

Considering the foregoing:

       IT IS ORDERED that Defendant, Recreation By Design, LLC, is granted leave to file its

Reply Memorandum in Support of Motion for Entry of Judgment.

       New Orleans, Louisiana, this _______________ day of June, 2010.



                                                 ___________________________________
                                                      JUDGE KURT ENGELHARDT
